   Case 1:19-cv-01374-MN Document 4 Filed 11/12/19 Page 1 of 1 PageID #: 21


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

MICHAEL KENT, Individually and On Behalf
                                  )
of All Others Similarly Situated, )
                                  )
                 Plaintiff,       ) Case No. 1:19-cv-01374-MN
                                  )
      v.                          )
                                  )
SOTHEBY’S, DOMENICO DE SOLE, THE  )
DUKE OF DEVONSHIRE, TAD SMITH,    )
JESSICA BIBLIOWICZ, LINUS CHUENG, )
KEVIN CONROY, DANIEL LOEB, MARSHA )
E. SIMMS, DIANA TAYLOR, DENNIS M. )
WEIBLING, HARRY WILSON, AND       )
MICHAEL J. WOLF,                  )
                                  )
                 Defendants.      )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified in the Action.

Dated: November 12, 2019                          RIGRODSKY & LONG, P.A.

                                            By: /s/ Brian D. Long
                                                Brian D. Long (#4347)
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